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                EXHIBIT B
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Tenants: Ruby Tuesday
Phone: (316) 681-4957
Fax: (844) 866-4284
Unit: 001
Property: 195 Northside Dr E(1) - 195 Northside Dr E Statesboro, GA 30458
Status: Current
Move in date: 12/01/1998
Move out date: --
Lease Expiration: 11/30/2038
Rent: 3,416.17
Deposit Paid: 0.00


Date                    Payer                          Description                                                    Charges    Payments    Balance
Starting Balance                                                                                                                                0.00
02/01/2016                                             Rent - February 2016                                           3,105.67               3,105.67
02/04/2016              Ruby Tuesday                   Payment (Reference #4734) RENT                                             3,105.67      0.00
03/01/2016                                             Rent - March 2016                                              3,105.67               3,105.67
03/06/2016                                             Late Fee - Late Fee for Mar 2016                                 35.00                3,140.67
03/07/2016              Ruby Tuesday                   Payment (Reference #8673) RENT                                             3,105.67     35.00
03/12/2016                                             Rent - adj late fee cct                                          -35.00                  0.00
04/01/2016                                             Rent - April 2016                                              3,105.67               3,105.67
04/06/2016              Ruby Tuesday                   Payment (Reference #2032) RENT                                             3,105.67      0.00
05/01/2016                                             Rent - May 2016                                                3,105.67               3,105.67
05/04/2016              Ruby Tuesday                   Payment (Reference #5141) RENT                                             3,105.67      0.00
06/01/2016                                             Rent - June 2016                                               3,105.67               3,105.67
06/11/2016                                             Late Fee - Late Fee for Jun 2016                                155.29                3,260.96
06/11/2016              Ruby Tuesday                   Payment (Reference #check 8441) rent                                       3,105.67    155.29
06/30/2016                                             Late Fee - Late Fee $5.00 per day                                95.00                 250.29
07/01/2016                                             Rent - July 2016                                               3,105.67               3,355.96
07/07/2016              Ruby Tuesday                   Payment (Reference #check 1596) rent                                       3,105.67    250.29
07/11/2016                                             Late Fee - Late Fee for Jul 2016                                 12.52                 262.81
07/23/2016                                             Late Fee - Late Fee $5.00 per day                                60.00                 322.81
07/23/2016                                             Rent - cct adj latefee                                          -322.81                  0.00
08/01/2016                                             Rent - August 2016                                             3,105.67               3,105.67
08/04/2016              Ruby Tuesday                   Payment (Reference #4406) Rent                                             3,105.67      0.00
09/01/2016                                             Rent - September 2016                                          3,105.67               3,105.67


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Date                    Payer               Description                                                 Charges    Payments    Balance
09/06/2016              Ruby Tuesday        Payment (Reference #7872) rent                                          3,105.67      0.00
10/01/2016                                  Rent - October 2016                                         3,105.67               3,105.67
10/04/2016              Ruby Tuesday        Payment (Reference #1116) rent                                          3,105.67      0.00
11/01/2016                                  Rent - November 2016                                        3,105.67               3,105.67
11/03/2016              Ruby Tuesday        Payment (Reference #4187) rent                                          3,105.67      0.00
12/01/2016                                  Rent - December 2016                                        3,105.67               3,105.67
12/05/2016              Ruby Tuesday        Payment (Reference #6877) rent                                          3,105.67      0.00
01/01/2017                                  Rent - January 2017                                         3,105.67               3,105.67
01/03/2017              Ruby Tuesday        Payment (Reference #9666) rent                                          3,105.67      0.00
02/01/2017                                  Rent - February 2017                                        3,105.67               3,105.67
02/06/2017              Ruby Tuesday        Payment (Reference #2679) rent                                          3,105.67      0.00
03/01/2017                                  Rent - March 2017                                           3,105.67               3,105.67
03/06/2017              Ruby Tuesday        Payment (Reference #5584) rent                                          3,105.67      0.00
04/01/2017                                  Rent - April 2017                                           3,105.67               3,105.67
04/04/2017              Ruby Tuesday        Payment (Reference #8195) rent                                          3,105.67      0.00
05/01/2017                                  Rent - May 2017                                             3,105.67               3,105.67
05/04/2017              Ruby Tuesday        Payment (Reference #0964) rent                                          3,105.67      0.00
06/01/2017                                  Rent - June 2017                                            3,105.67               3,105.67
06/12/2017              Ruby Tuesday        Payment (Reference #3536) rent                                          3,105.67      0.00
07/01/2017                                  Rent - July 2017                                            3,105.67               3,105.67
07/06/2017              Ruby Tuesday        Payment (Reference #5812) rent                                          3,105.67      0.00
08/01/2017                                  Rent - August 2017                                          3,105.67               3,105.67
08/04/2017              Ruby Tuesday        Payment (Reference #8365) rent                                          3,105.67      0.00
09/01/2017                                  Rent - September 2017                                       3,105.67               3,105.67
09/12/2017              Ruby Tuesday        Payment (Reference #0864) rent                                          3,105.67      0.00
10/01/2017                                  Rent - October 2017                                         3,105.67               3,105.67
10/05/2017              Ruby Tuesday        Payment (Reference #3227) rent                                          3,105.67      0.00
11/01/2017                                  Rent - November 2017                                        3,105.67               3,105.67
11/06/2017              Ruby Tuesday        Payment (Reference #5920) 3105.67                                       3,105.67      0.00
12/01/2017                                  Rent - December 2017                                        3,105.67               3,105.67
12/04/2017              Ruby Tuesday        Payment (Reference #8124) Rent                                          3,105.67      0.00
01/01/2018                                  Rent - January 2018                                         3,105.67               3,105.67
01/04/2018              Ruby Tuesday        Payment (Reference #0519) rent                                          3,105.67      0.00
02/01/2018                                  Rent - February 2018                                        3,105.67               3,105.67



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Date                    Payer               Description                                                 Charges    Payments    Balance
02/05/2018              Ruby Tuesday        Payment (Reference #3190) Rent                                          3,105.67      0.00
03/01/2018                                  Rent - March 2018                                           3,105.67               3,105.67
03/05/2018              Ruby Tuesday        Payment (Reference #5777) Rent                                          3,105.67      0.00
04/01/2018                                  Rent - April 2018                                           3,105.67               3,105.67
04/03/2018              Ruby Tuesday        Payment (Reference #7732) rent                                          3,105.67      0.00
05/01/2018                                  Rent - May 2018                                             3,105.67               3,105.67
05/03/2018              Ruby Tuesday        Payment (Reference #0443) Rent                                          3,105.67      0.00
06/01/2018                                  Rent - June 2018                                            3,105.67               3,105.67
06/05/2018              Ruby Tuesday        Payment (Reference #2519) Rent                                          3,105.67      0.00
07/01/2018                                  Rent - July 2018                                            3,105.67               3,105.67
07/16/2018              Ruby Tuesday        Payment (Reference #4585) Rent                                          3,105.67      0.00
08/01/2018                                  Rent - August 2018                                          3,105.67               3,105.67
08/04/2018              Ruby Tuesday        Payment (Reference #6654) rent                                          3,105.67      0.00
09/01/2018                                  Rent - September 2018                                       3,105.67               3,105.67
09/05/2018              Ruby Tuesday        Payment (Reference #8361) Rent                                          3,105.67      0.00
10/01/2018                                  Rent - October 2018                                         3,105.67               3,105.67
10/04/2018              Ruby Tuesday        Payment (Reference #0199) Rent                                          3,105.67      0.00
11/01/2018                                  Rent - November 2018                                        3,105.67               3,105.67
11/06/2018              Ruby Tuesday        Payment (Reference #1918) Rent                                          3,105.67      0.00
12/01/2018                                  Rent - December 2018                                        3,105.67               3,105.67
12/04/2018              Ruby Tuesday        Payment (Reference #3360) rent                                          3,105.67      0.00
01/01/2019                                  Rent - January 2019                                         3,105.67               3,105.67
01/04/2019              Ruby Tuesday        Payment (Reference #4956) Rent                                          3,105.67      0.00
02/01/2019                                  Rent - February 2019                                        3,416.17               3,416.17
02/04/2019              Ruby Tuesday        Payment (Reference #6621) Rent                                          3,416.17      0.00
03/01/2019                                  Rent - March 2019                                           3,416.17               3,416.17
03/05/2019              Ruby Tuesday        Payment (Reference #2259) rent                                          3,416.17      0.00
04/01/2019                                  Rent - April 2019                                           3,416.17               3,416.17
04/05/2019              Ruby Tuesday        Payment (Reference #3607) Rent                                          3,416.17      0.00
05/01/2019                                  Rent - May 2019                                             3,416.17               3,416.17
05/06/2019              Ruby Tuesday        Payment (Reference #0695) Rent                                          3,416.17      0.00
06/01/2019                                  Rent - June 2019                                            3,416.17               3,416.17
06/16/2019                                  Late Fee - Late Fee for Jun 2019                             170.81                3,586.98
06/30/2019                                  Late Fee - Late Fee $5.00 per day                             70.00                3,656.98



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Date                    Payer               Description                                                    Charges     Payments     Balance
07/01/2019                                  Rent - July 2019                                               3,416.17                 7,073.15
07/02/2019              Ruby Tuesday        Payment (Reference #2899) rent                                              3,416.17    3,656.98
07/02/2019                                  Rent - Credit back late fee and payment on 06/21/2019          -3,656.98                    0.00
08/01/2019                                  Rent - August 2019                                             3,416.17                 3,416.17
08/05/2019              Ruby Tuesday        Payment (Reference #4079) rent                                              3,416.17        0.00
09/01/2019                                  Rent - September 2019                                          3,416.17                 3,416.17
09/04/2019              Ruby Tuesday        Payment (Reference #5114) rent                                              3,416.17        0.00
10/01/2019                                  Rent - October 2019                                            3,416.17                 3,416.17
10/07/2019              Ruby Tuesday        Payment (Reference #6195) Rent                                              3,416.17        0.00
11/01/2019                                  Rent - November 2019                                           3,416.17                 3,416.17
11/05/2019              Ruby Tuesday        Payment (Reference #7298) rent                                              3,416.17        0.00
12/01/2019                                  Rent - December 2019                                           3,416.17                 3,416.17
12/06/2019              Ruby Tuesday        Payment (Reference #8357) rent                                              3,416.17        0.00
01/01/2020                                  Rent - January 2020                                            3,416.17                 3,416.17
01/07/2020              Ruby Tuesday        Payment (Reference #0344) Rent                                              3,416.17        0.00
02/01/2020                                  Rent - February 2020                                           3,416.17                 3,416.17
02/06/2020              Ruby Tuesday        Payment (Reference #2290) Rent                                              3,416.17        0.00
03/01/2020                                  Rent - March 2020                                              3,416.17                 3,416.17
03/09/2020              Ruby Tuesday        Payment (Reference #4036) Rent                                              3,416.17        0.00
04/01/2020                                  Rent - April 2020                                              3,416.17                 3,416.17
05/01/2020                                  Rent - May 2020                                                3,416.17                 6,832.34
06/01/2020                                  Rent - June 2020                                               3,416.17                10,248.51
07/01/2020                                  Rent - July 2020                                               3,416.17                13,664.68
08/01/2020                                  Rent - August 2020                                             3,416.17                17,080.85
09/01/2020                                  Rent - September 2020                                          3,416.17                20,497.02
10/01/2020                                  Rent - October 2020                                            3,416.17                23,913.19
11/01/2020                                  Rent - November 2020                                           3,416.17                27,329.36
12/01/2020                                  Rent - December 2020                                           3,416.17                30,745.53
12/09/2020                                  Rent - Property tax county                                     9,266.27                40,011.80
12/09/2020                                  Rent - Property tax city                                       3,242.41                43,254.21
01/26/2021                                  Reasonable Attorney's Fees and Costs                          13,723.00                56,977.21



Total                                                                                                                              $56,977.21




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